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 9   UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                      No. CR 23-cr-00599-MCS
14               Plaintiff,                         GOVERNMENT’S UNOPPOSED EX
15                                                  PARTE APPLICATION FOR ORDER
                        v.                          SEALING GOVERNMENT’S EXHIBIT 1
16
     ROBERT HUNTER BIDEN,                           Hearing Date:      August 21, 2024
17                                                  Hearing Time:      1:00 p.m.
18               Defendant.                         Location:          Courtroom of the
                                                                       Hon. Mark Scarsi
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20
21         The government hereby applies ex parte for an order that seals Exhibit 1, which is

22   a transcript of Business Associate 1 and is relevant to the Government’s Response to the

23   defendant’s fourth motion in limine to exclude reference to alleged improper political

24   influence and/or corruption. (Dkt. 163) (the “Motion”). The justification for the sealing

25   the exhibit is that the transcript is a sealed record under Fed. R. Crim. P. 6(e)(6) and the

26   government may not disclose such a matter pursuant to Fed. R. Crim. P. 6(e)(2). See

27   also Kamakana v. City and County of Honolulu, 447 F.3d 1172 (9th Cir. 2006); Times

28   Mirror Co. v. United States, 873 F.2d 1210 (9th Cir. 1989).
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 1         On August 6, 2024, undersigned counsel emailed counsel for the defendant for his
 2   position on this motion to seal. Ms. Tina Glandian, counsel for the defendant, responded
 3   and indicated that the defendant does not oppose the motion to seal.
 4         This ex parte application is made pursuant to Local Criminal Rule 49-1.2(b)(3).
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 6    Dated: August 7, 2024                   Respectfully submitted,
 7
                                              DAVID WEISS
 8                                            Special Counsel
 9
                                              /s/
10                                            LEO J. WISE
                                              Principal Senior Assistant Special Counsel
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12                                            DEREK E. HINES
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